        Case 1:17-cv-01043-LY Document 23 Filed 02/28/18 Page 1 of 2


                                                                                            ri
                                                                                            WH
                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS                         2018FEB28         9:36
                                    AUSTIN DIVISION
                                                                                    CLEL'
                                                                                    1EST[
FLOSPORTS, INC.,                               §
     PLAINTIFF                                 §
v.                                             §        CIVIL ACTION NO.       1:   17-C V-01043-LY
                                               §
WWN, INC.,                                     §
      DEFENDANT                                §


            AGREED ORDER OF MUTUAL DISMISSAL WITH PREJUDICE

       On this day, the Court GRANTS this agreed order of mutual dismissal of claims that have

been or could have been asserted between Plaintiff FloSports, Inc. ("FloSports") on the one hand

and Defendant WWN, Inc. ("WWN") on the other.

       It is therefore, ORDERED, ADJUDGED AND DECREED, that all claims that have been

or could have been asserted herein between FloSports on the one hand, and WWN on the other,

are dismissed with prejudice to the right to file or re-file, and it is FURTHER ORDERED that

each party bear its own costs, expenses and attorney's fees related to those claims.



       SIGNED    thi24 day of February, 2018.

                                           -1_
                                      LEEXEAKEL
                                      UNtIED STAT         DISTR     T JUDGE
         Case 1:17-cv-01043-LY Document 23 Filed 02/28/18 Page 2 of 2




AGREED:

RICHARDSON + BURGESS LLP
              6th
221 West     Street, Suite 900
Austin, Texas 78701-3445
Telephone: (512) 482-8808
Facsimile: (512) 499-8886
Email: kburgess@richardsonburgess.com
Email: dreinhart@richardsonburgess.com

By:   /s/ Karen C. Burgess
        Karen C. Burgess
        State Bar No. 00796276


ATTORNEYS FOR PLAINTIFF FLOSPORTS, INC.


REEVES & BRIGHT WELL LLP
        6th
221 W     Street, Suite 1000
Austin, Texas 78701-3418
Telephone: (512) 334-4500
Facsimile: (512) 334-4492
Email: psch1audreevesbrightwell.com
Email: mrodgersreevesbrightwe11.com

By: /s/Manasi Rodgers
       Paul Schlaud
       State Bar No. 24013469
        Manasi Rodgers
        State Bar No. 24090361

ATTORNEYS FOR DEFENDANT WWN, INC.




AGREED ORDER OF MUTUAL DISMISSAL WITH PREJUDICE                     Page 2 of 2
